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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            SOUTHERN DIVISION
                                 (at London)

CASE NO. 09-16-S-DCR                                       ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                                    PLAINTIFF,


VS.                      MOTION TO PRODUCE FOR
                  INSPECTION PROSECUTION MEMORANDUM
                         AND DRAFT INDICTMENT


RUSSELL CLETUS MARICLE,                                                    DEFENDANT.

                                        ** ** **

       Comes the Defendant, Russell Cletus Maricle, and moves the Court to

require the United States of America to produce for inspection the prosecution

memorandum and draft indictment, if any, sent to the Organized Crime and Racketeering

Section, Criminal Division (AOCRS@) of the Justice Department prior to the filing of the

indictment herein and prior to the filing of the superseding indictment herein for the

purpose of determining whether or not the United States has complied with all

requirements in bringing these indictments.

                                                 Respectfully submitted,

                                                 /s/David S. Hoskins
                                                 Attorney At Law
                                                 107 East First Street
                                                 Corbin, KY 40701
                                                 Telephone: (606) 526-9009
                                                 Facsimile: (606) 526-1021
                                                 Email: davidhoskins@bellsouth.net
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                                                   ATTORNEY FOR DEFENDANT
                                                   RUSSELL CLETUS MARICLE


                              CERTIFICATE OF SERVICE

       The undersigned certifies that on this 17th day of August, 2009, the foregoing was

filed electronically with the Clerk of the Court by using CM/ECF System which will send

notice of filing to all counsel of record.

                                                   /s/David S. Hoskins
